Case 1:09-cV-00597-LI\/|B-TCB Document 41-9 Filed 10/23/09 Page 1 of 3 Page|D# 715

EXHIBIT H

ease 1:09-cv-00597-LMB-TCB Documem 41-9 Filed 10/23/09 Page 2 of 3 Pa'§@e€l‘bl#O/*i%

Roth, N|elissa R.

From: Dickinson, lVlichelle J.

Sent: lVlonclay, October 05, 2009 2116 PNl
To: isabel M Humphrey

Cc: Rothl Nlelissa R.; Cramer, Vanessa
Subject: RE; Loomis |aptops

Thanks for your email response, isabel. ln light of the data destruction issues in this case, our client is taking
extra measures to ensure that the exchange of computers does not unnecessarily lead to a data destruction
probleml

Nlichelle

From: lsabe| M Humphrey [mai|to:isabel@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dickinson, Michel|e J.

Cc: Roth, Melissa R.; Cramer, Vanessa

Subject: Re: Loomis laptops

Nlicheile, l can't understand Why you need an out-of-state "consultant” to ”facilitate" the exchange of the
laptops. Can't you just send someone up from downstairs?‘? Or l can send someone downstairsl Either
way. This should take 2 minutes.

isabel l\i'll Humphrey` Esq.

HUNTER, HUMPHRE¥ & YAV|TZ, PLC
2633 E indian School Rd, #440
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--- Original Message ----
From: "Dicl<inson, Nlichelle J_"
To:

Sent: 10)'02/2009 5:47Pl\ll
Subject: Re: Loomis laptops

lsabel,

Thank you for your emaii. As explained in our letter, we will be paying a consultant to facilitate the exchange of the
laptop computers as a result of Joe's return of the wrong computer after his termination In order to avoid
unnecessary additional expenses, it makes sense to have the'consultant make only one trip to Arizona and image the
tower and the other computers in Joe's possession, custody or control during that visit. Please confirm your
agreement with this arrangement Thanks.

Michei|e

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600

10/23/2009

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(4 l 0) 580-4137 Direct Phone
(4]0) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUC'I`

----- Original Message -----

From: Isabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michel[e J.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis laptops

Michelle, I've reviewed your latest communication regarding the laptops. I‘rn glad we have finally resolved the
ownership issue. Please have your computer tech call me to arrange a time to exchange the laptops. I will be in the
office most of the day Monday and Tuesday.

l will respond to the other issues raised in your letter, but obviously NEI is required to return Joe's property
immediately and unconditionally

isabel M. Humphrey, Esq.

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10/23/2009

